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                                   UNITED STATES BANKRUPTCY COURT
                                            FOR THE DISTRICT OF DELAWARE



In re: VALERITAS HOLDING, INC., et al.                            §                 Case No. 20-10290
                                                                  §
                                                                                    Lead Case No. 20-10290
                                                                  §
                      Debtor(s)                                   §                     Jointly Administered

Post-confirmation Report                                                                                                Chapter 11

Quarter Ending Date: 06/30/2022                                                            Petition Date: 02/09/2020



Plan Confirmed Date:06/08/2020                                                       Plan Effective Date: 06/30/2020


This Post-confirmation Report relates to:     Reorganized Debtor
                                              Other Authorized Party or Entity: Liquidating Trust
                                                                                   Name of Authorized Party or Entity




/s/ John P. Madden                                                      John P Madden, on behalf of Emerald Capital Advisors
Signature of Responsible Party                                           Printed Name of Responsible Party
08/31/2022
                                                                        150 East 52nd street
Date                                                                    15th Floor
                                                                        New York, NY 10022
                                                                         Address


STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




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Part 1: Summary of Post-confirmation Transfers

                                                                                                                      Total Since
                                                                                              Current Quarter        Effective Date

 a. Total cash disbursements                                                                           $36,146             $2,847,485
 b. Non-cash securities transferred                                                                          $0                    $0
 c. Other non-cash property transferred                                                                      $0                    $0
 d. Total transferred (a+b+c)                                                                          $36,146             $2,847,485

Part 2: Preconfirmation Professional Fees and Expenses
                                                                                Approved       Approved     Paid Current     Paid
                                                                              Current Quarter Cumulative      Quarter      Cumulative
a.      Professional fees & expenses (bankruptcy)
        incurred by or on behalf of the debtor              Aggregate Total
                                                                                         $0    $3,839,597             $0    $3,781,127
        Itemized Breakdown by Firm
                 Firm Name                          Role
        i        DLA Piper                          Lead Counsel                         $0    $1,814,068             $0    $1,814,068
        ii       KCC                                Other                                $0       $28,067             $0        $28,067
        iii      PriceWaterhouseCoopers             Financial Professional               $0    $1,121,160             $0    $1,121,160
        iv       Porzio, Bromberg & Newman Lead Counsel                                  $0      $457,420             $0       $428,218
        v        Morris James LLP                   Co-Counsel                           $0      $117,873             $0       $108,824
        vi       Emerald Capital                    Financial Professional               $0      $301,009             $0       $280,790
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                                                                             Approved       Approved     Paid Current     Paid
                                                                           Current Quarter Cumulative      Quarter      Cumulative
b.     Professional fees & expenses (nonbankruptcy)
       incurred by or on behalf of the debtor            Aggregate Total
                                                                                      $0            $0             $0           $0
       Itemized Breakdown by Firm
                 Firm Name                        Role
       i         N/A                                                                  $0            $0             $0           $0
       ii                                                                             $0            $0             $0           $0
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c.          All professional fees and expenses (debtor & committees)                         $0    $3,839,597             $0     $3,781,127

Part 3: Recoveries of the Holders of Claims and Interests under Confirmed Plan
                                                    Total
                                                 Anticipated                                                                     % Paid of
                                                  Payments            Paid Current                                               Allowed
                                                 Under Plan             Quarter           Paid Cumulative    Allowed Claims       Claims
 a. Administrative claims                                  $345,854              $0               $345,854           $345,854       100%
 b. Secured claims                                         $412,497              $0               $412,497         $20,000,000         2%
 c. Priority claims                                             $0               $0                    $0                  $0          0%
 d. General unsecured claims                               $377,911                  $0           $102,802          $3,779,110         3%
 e. Equity interests                                            $0               $0                    $0


Part 4: Questionnaire
     a. Is this a final report?                                                                              Yes     No
             If yes, give date Final Decree was entered:
        If no, give date when the application for Final Decree is anticipated:         12/31/2022
 b. Are you current with quarterly U.S. Trustee fees as set forth under 28 U.S.C. § 1930?                    Yes     No




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                                                       Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information and provision of this information is mandatory. The United
States Trustee will use this information to calculate statutory fee assessments under 28 U.S.C. § 1930(a)(6) and to
otherwise evaluate whether a reorganized chapter 11 debtor is performing as anticipated under a confirmed plan.
Disclosure of this information may be to a bankruptcy trustee when the information is needed to perform the trustee's
duties, or to the appropriate federal, state, local, regulatory, tribal, or foreign law enforcement agency when the information
indicates a violation or potential violation of law. Other disclosures may be made for routine purposes. For a discussion of
the types of routine disclosures that may be made, you may consult the Executive Office for United States Trustee's
systems of records notice, UST-001, "Bankruptcy Case Files and Associated Records." See 71 Fed. Reg. 59,818 et seq.
(Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://www.justice.gov/ust/eo/
rules_regulations/index.htm. Failure to provide this information could result in the dismissal or conversion of your
bankruptcy case, or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Post-confirmation Report and its attachments, if
any, are true and correct and that I have been authorized to sign this report.



/s/ John P. Madden                                                    John P Madden, on behalf of Emerald Capital Advisors
Signature of Responsible Party                                         Printed Name of Responsible Party
Liquidating Trustee                                                    08/31/2022
Title                                                                  Date




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                                                   Non-Bankruptcy Table 1-50




                                                  Non-Bankruptcy Table 51-100




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